     Case 1:20-cv-03010-APM          Document 1210-1        Filed 04/09/25     Page 1 of 3




                              List of Anticipated Live Witnesses

Plaintiffs’ List:

    1. Epstein, Adam (adMarketplace – Co-CEO and President)

    2. Fitzgerald, Peter (Google – VP of Platforms and Devices Partnerships, Global
       Partnerships)

    3. Hsiao, Sissie (Google – GM of Gemini App)

    4. Provost, Brian (Yahoo – Senior VP and GM, Yahoo Search)

    5. Samat, Sameer (Google – VP of Product Management, Products and Devices)

    6. Schechter, Michael (Microsoft – VP of Growth, Bing)

    7. Shevelenko, Dmitry (Perplexity – Chief Business Officer)

    8. Tabriz, Parisa (Google – VP of Engineering and GM for Chrome)

    9. Turley, Nick (OpenAI – Head of Product, ChatGPT)

    10. Vallez, Paul (Skai – Executive VP Strategic Business Development & Product
        Partnerships)

    11. Weinberg, Gabriel (DuckDuckGo – CEO)

    12. Chipty, Tasneem (Expert – Founder and Managing Principal, Chipty Economics, LLC)

    13. Durrett, Greg (Expert – Associate Professor at The University of Texas at Austin)

    14. Evans, David (Expert – Professor of Computer Science at the University of Virginia)

    15. Locala, David (Expert – Former Head of Global Technology M&A at Citi)

    16. Luca, Michael (Expert – Professor at the Johns Hopkins University Carey Business
        School)

    17. Mickens, James (Expert – Gordon McKay Professor of Computer Science at Harvard
        University)

    18. Rangel, Antonio (Expert –Bing Professor of Neuroscience, Behavioral Biology and
        Economics at the California Institute of Technology)
    Case 1:20-cv-03010-APM          Document 1210-1        Filed 04/09/25     Page 2 of 3




   19. Jerath, Kinshuk (Expert – Arthur F. Burns Professor of Free and Competitive Enterprise,
       Professor of Business in the Marketing Division, at Columbia Business School, Columbia
       University) (Possible Rebuttal Expert Witness)

Google’s List:

   1. Adkins, Heather (Google – Cybersecurity Resilience Officer)

   2. Adkins, Jesse (Google – Director of Product Management)

   3. Collins, Eli (Google – VP of Product, Google DeepMind)

   4. Muralidharan, Omkar (Google – VP of Product, Search Ads)

   5. Osterloh, Rick (Google – Senior VP of Platforms and Devices)

   6. Pichai, Sundar (Google – Chief Executive Officer)

   7. Reid, Elizabeth Hamon (Google – VP of Search)

   8. Samat, Sameer (Google – President of the Android Ecosystem)

   9. Tabriz, Parisa (Google – VP of Engineering and General Manager for Chrome)

   10. Boulben, Frank (Verizon – Chief Revenue Officer, Verizon Consumer Group)

   11. Cue, Eduardo (Apple – Senior VP of Services)

   12. Muhlheim, Eric (Mozilla – Chief Financial Officer, Mozilla Corporation)

   13. Allan, James (Expert – Professor in the Manning College of Information and Computer
       Sciences at the University of Massachusetts Amherst)

   14. Culnane, Chris (Expert – Principal and Consultant at Castellate Consulting Ltd)

   15. Elzinga, Kenneth (Expert – Robert C. Taylor Professor of Economics at the University of
       Virginia)

   16. Hitt, Lorin (Expert – Zhang Jindong Professor of Operations, Information and Decisions
       at the University of Pennsylvania, Wharton School)

   17. Israel, Mark (Expert – Founding Partner at Econic Partners)

   18. Murphy, Kevin (Expert – George J. Stigler Professor of Economics (Emeritus) in the
       Booth School of Business and the Department of Economics at the University of
       Chicago)
 Case 1:20-cv-03010-APM          Document 1210-1        Filed 04/09/25     Page 3 of 3




19. Nieh, Jason (Expert – Professor of Computer Science and co-Director of the Software
    Systems Laboratory at Columbia University)

20. Zenner, Marc (Expert – Senior advisor, independent director, consultant, executive in
    residence, and investor)
